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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

 JUSTIN GUY, individually and on behalf
 of those similarly situated,

        Plaintiff,                                     Case No. 20-12734

 v.                                                    HON. MARK A. GOLDSMITH

 ABSOPURE WATER COMPANY, LLC

        Defendant.
                                               /


                ORDER FOLLOWING DECEMBER 19, 2023 CONFERENCE

        The Court held an on-the-record status conference on December 19, 2023 regarding a

 number of post-trial matters. The Court now sets the following deadlines:

        1. The parties must confer regarding the proper form of the judgment in this case. Because

            the judgment cannot be finalized until the Court rules on the issues of the Motor

            Carriers Act (MCA) exemption and the small-vehicle exception for Plaintiffs who

            drove less than two times per month, the parties should only list Plaintiffs who will be

            included regardless of the Court’s ruling on these issues. If the parties can stipulate to

            the form of the judgment, they must submit it via the utilities function on or before

            January 9, 2024. If the parties are not able to agree on a proposed form of judgment,

            they must each file, on or before January 9, 2024, a memorandum not longer than five

            pages setting forth their respective positions as to the proper form of judgment and

            attaching a proposed judgment as an exhibit to each party’s memorandum.




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       2. With respect to the small-vehicle exception for Plaintiffs who were found to have

          driven less than two times a month, the parties must file any briefing addressing that

          issue on or before January 9, 2024. Each memorandum may not exceed five pages.

       3. With respect to any issues pertaining to the MCA or any Rule 50 motions, the parties

          must file any briefing addressing those issues no later than the earlier of (i) seven

          calendar days after the transcript is made available or (ii) January 24, 2024. Each

          memorandum may not exceed 10 pages.


 SO ORDERED.

 Dated: December 21, 2023                          s/Mark A. Goldsmith
        Detroit, Michigan                          MARK A. GOLDSMITH
                                                   United States District Judge




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